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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Maplevale Farms, Inc., et al.
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−08637
                                                       Honorable Thomas M. Durkin
Mar−Jac Holdings, Inc., et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 18, 2022:


        MINUTE entry before the Honorable Thomas M. Durkin: Minute entry [5364] is
amended as follows. A telephonic Final Approval Hearing is set for 4/18/2022 at 10:00
a.m. with regards to Commercial and Institutional Indirect Purchaser Plaintiffs'
settlements with Tyson, Pilgrim's Pride, and Mar−Jac Defendants, with Fieldale Farms
Corporation, with Amick Farms, LLC and with Defendants Peco Foods, Inc., George's,
Inc., and George's Farms, Inc. To join the telephone conference, dial 877−402−9757,
Access Code 4410831. Members of the public and media will be able to call in to listen to
this hearing. Please be sure to keep your phone on mute when you are not speaking.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice. (ecw, )




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